Dear Secretary Carnahan:
This opinion letter responds to your request dated September 2, 2011, for our review under § 116.334, RSMo, of a proposed summary statement prepared for the petition submitted by Marc Ellinger regarding a proposed constitutional amendment to amend Article X of the Missouri Constitution (version 10). The proposed summary statement is as follows:
Shall the Missouri Constitution be amended to:
  • eliminate taxes paid by individuals based on income or earnings and sales and use taxes, including taxes paid by corporations and individuals, with certain exceptions;
  • require the legislature to impose an expanded state sales tax on all sales and services, and allow the legislature to increase taxes up to 5½% on purchases of food and 7% on other sales and services, with certain exceptions;
  • require that state and local cumulative sales tax rate not exceed 10%, with certain exceptions; and *Page 2 
  • provide for a real property tax credit for eligible homeowners?
Pursuant to § 116.334, RSMo, we approve the legal content and form of the proposed statement. Because our review of the statement is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition, nor as the expression of any view regarding the objectives of its proponents.
                                                   Very truly yours, _________________________  CHRIS KOSTER
Attorney General *Page 1 